            Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 1 of 10




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17
                                   UNITED STATES DISTRICT COURT
18
                                 NORTHERN DISTRICT OF CALIFORNIA
19
                                        SAN FRANCISCO DIVISION
20

21     UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00337-WHO
22                             Plaintiff,
                                                      JOINT TRIAL EXHIBIT LIST
23                        v.

24     JOSEPH SULLIVAN,

25                             Defendant.

26

27
                                                                        ANGELI LAW GROUP LLC
                                                                    121 S.W. Morrison Street, Suite 400
     JOINT EXHIBIT LIST                                                        Portland, Oregon 97204
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              Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 2 of 10




 1            The parties submit the following list of joint trial exhibits:
 2
       EX #         DATE                           DESCRIPTION                                 OFF’D      ADT’D
 3
         1         1/1/2015    Uber Data Breach Incident Response Plan
 4       2        3/12/2015    Preservation letter from FTC to Engrav
 5                             Email from: Yoo to Kalanick and Plouffe re: "FTC
         3        3/12/2015    Investigation" (attaching FTC Preservation Letter)
 6       4        3/12/2015    FTC Preservation letter to Uber
         5         4/1/2015    Service Fee Schedule
 7
                               Uber USA, LLC Software License and Online Services
 8       6         4/3/2015    Agreement
         7         5/6/2015    Uber City Addendum
 9
                               Sullivan FTC Dep. Ex. 5 (Uber's Corrected Second Set of
10       8        7/31/2015    Responses to 2015 CID)
         9        1/19/2016    Uber Data Breach Incident Response Plan
11
        10        3/15/2016    Email from Greene to Matthew Murphy Re: CSP deadline
12                             Sullivan email exchange with Whetstone, Greene, and
        11        3/21/2016    Flynn (cc: Hearns & Kalanick) re: Bug bounty program
13      12         4/8/2016    Bug Bounty Program Terms
        13        5/22/2016    Engineering Security Incident Response Plan
14
                               Yoo/Sullivan email exchange re: Privileged and
15      14        8/3/2016     Confidential Attorney Client Communication
        15        8/13/2016    Yoo, Sullivan, Tassi email exchange re: Craig
16
        16        8/18/2016    Uber Bug Bounty Program Description
17                             Email exchange among Guzman, Clark, and Worden
        17        8/23/2016    (with cc's) re: Preliminary Postmortem Reddit Leak
18
                               Email from Engrav to Tassi, Ross, Para, and Care (with
19      18        8/30/2016    cc's) re: FTC submission re round 2 and 3 of AWS breach
                               8/30/16 letter from Engrav to Rossen (FTC) (attachment
20      19        8/31/2016    to 8/31/16 Engrav email to Tassi, et al.)
                               Uber Technologies, Inc.'s Sixth Set of Responses to May
21                             21, 2015 Civil Investigative Demand (attachment to 8/31/
        20        8/31/2016    Engrav email to Tassi, et al.)
22
                               Email from Clark to Rai (cc: Sullivan, Flynn) re:
23      21        11/2/2016    encryption at rest
        22        11/7/2016    Breach Incident Response Playbook
24      23       11/9/2016     Engineering Security Incident Response Plan
25      24       11/14/2016    Email from Greene to Fletcher re: Uber Security
                            Email exchange among Clark, Guzman, Henley, Flynn,
26
                            Greene, and Sullivan re: johndoughs@protonmail.com
27      25       11/14/2016 Incident

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              Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 3 of 10




 1     EX #       DATE                           DESCRIPTION                              OFF’D      ADT’D

 2      26      11/14/2016 Email from “Johndoughs” to Sullivan re: Uber Security
 3                         Email exchange among Henley, Sullivan, Guzman, Clark,
                           Flynn, and Greene re: johndoughs@protonmail.com
 4      27      11/14/2016 Incident

 5                         Email exchange among Guzman, Henley, Clark, Flynn,
        28      11/14/2016 and Greene re: johndoughs@protonmail.com Incident
 6      29      11/14/2016 Preacher Central Tracker
 7      30      11/14/2016 Draft "Security Incident Extortion Attempt" document
                           Email from Ensign to Kelly re: A/C Priv: Security +
 8      31      11/15/2016 candace@uber any legal advice?
 9                           Email from HipChat to Kelly re: Melanie Ensign sent you
        32      11/15/2016   a 1-1 Message
10      33      11/15/2016   Sullivan email to Kalanick and Clark re: Security Note
        34      11/15/2016   Fletcher email to self
11
        35      11/15/2016   Emails between Ensign and Kelly re: Hey
12                         Ensign email to Kelly re: A/C Priv: Security Incident -
        36      11/15/2016 Extortion Attempt -- invitation to edit
13
                           Uber Technologies, Inc.: Travis Kalanick and Joe
14      37      11/15/2016 Sullivan Text Messages
        38      11/15/2016 Kelly email to Ensign re: Hey
15
        39      11/15/2016 Email exchange between Ensign and Kelly re: Hey
16      40      11/15/2016 Draft “Security Incident Extortion Attempt” document

17      41      11/15/2016 Draft “Security Incident Extortion Attempt” document
        42      11/15/2016 Draft “Security Incident Extortion Attempt”" document
18
        43      11/15/2016 Draft “Security Incident Extortion Attempt” document
19                         Drafting history for email sent to hackers at 9:29 am on
        44      11/15/2016 11/15/16
20
                           Drafting history for email sent to hackers at 11:57 am on
21      45      11/15/2016 11/15/16.
                             Drafting history for email sent to hackers at 2:12 pm on
22      46      11/15/2016   11/15/16.
        47      11/15/2016   Nov. 15 - 8:55 pm NDA
23
        48      11/15/2016   Nov. 15 - 9:01 pm NDA
24      49      11/15/2016   Nov. 15 - 10:09 pm NDA
        50      11/16/2016   Nov. 16 - 7:26 am NDA
25
        51      11/16/2016   Nov. 16 - 7:28 am NDA
26      52      11/16/2016   Nov. 16 - 7:29 am NDA
        53      11/16/2016   Nov. 16 - 7:29 am NDA
27
        54      11/16/2016   Nov. 16 - 7:30 am NDA
                                                                                  ANGELI LAW GROUP LLC
                                                                              121 S.W. Morrison Street, Suite 400
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 1     EX #       DATE                        DESCRIPTION                OFF’D      ADT’D

 2      55      11/16/2016   Nov. 16 - 7:30 am NDA
        56      11/16/2016   Nov. 16 - 7:31 am NDA
 3
        57      11/16/2016   Nov. 16 - 7:33 am NDA
 4      58      11/16/2016   Nov. 16 - 7:35 am NDA
        59      11/16/2016   Nov. 16 - 7:36 am NDA
 5      60      11/16/2016   Nov. 16 - 7:38 am NDA
 6      61      11/16/2016   Nov. 16 - 7:39 am NDA
        62      11/16/2016   Nov. 16 - 7:39 am NDA
 7      63      11/16/2016   Nov. 16 - 7:39 am NDA
 8      64      11/16/2016   Nov. 16 - 7:40 am NDA
        65      11/16/2016   Nov. 16 - 7:40 am NDA
 9      66      11/16/2016   Nov. 16 - 7:41 am NDA
        67      11/16/2016   Nov. 16 - 7:42 am NDA
10
        68      11/16/2016   Nov. 16 - 7:42 am NDA
11      69      11/16/2016   Nov. 16 - 7:44 am NDA
        70      11/16/2016   Nov. 16 - 7:44 am NDA
12
        71      11/16/2016   Nov. 16 - 7:44 am NDA
13      72      11/16/2016   Nov. 16 - 7:45 am NDA
        73      11/16/2016   Nov. 16 - 7:50 am NDA
14
        74      11/16/2016   Nov. 16 - 7:51 am NDA
15      75      11/16/2016   Nov. 16 - 7:51 am NDA
        76      11/16/2016   Nov. 16 - 7:51 am NDA
16      77      11/16/2016   Nov. 16 - 7:53 am NDA
17      78      11/16/2016   Nov. 16 - 7:53 am NDA
        79      11/16/2016   Nov. 16 - 7:56 am NDA
18      80      11/16/2016   Nov. 16 - 7:57 am NDA
19      81      11/16/2016   Nov. 16 - 7:57 am NDA
        82      11/16/2016   Nov. 16 - 9:15 am NDA
20      83      11/16/2016   Nov. 16 - 10:53 am NDA
        84      11/16/2016   Nov. 16 - 3:51 pm NDA
21
        85      11/16/2016   Nov. 16 - 4:55 pm NDA
22      86      11/16/2016   Nov. 16 - 7:04 pm NDA
        87      11/16/2016   Nov. 16 - 7:05 pm NDA
23
        88      11/16/2016   Nov. 16 - 7:05 pm NDA
24      89      11/16/2016   Nov. 16 - 7:11 pm NDA
        90      11/16/2016   Nov. 16 - 7:34 pm NDA
25      91      11/16/2016   Nov. 16 - 8:34 pm NDA
26      92      11/16/2016   Nov. 16 - 9:58 pm NDA
        93      11/16/2016   Nov. 16 - 9:59 pm NDA
27      94      11/16/2016   Nov. 16 - 9:59 pm NDA
                                                                 ANGELI LAW GROUP LLC
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              Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 5 of 10




 1     EX #       DATE                          DESCRIPTION                             OFF’D      ADT’D

 2       95     11/16/2016   Nov. 16 - 10:00 pm NDA
         96     11/16/2016   Nov. 16 - 10:01 pm NDA
 3
         97     11/16/2016   Nov. 16 - 10:01 pm NDA
 4       98     11/16/2016   Nov. 16 - 10:02 pm NDA
         99     11/16/2016   Nov. 16 - 10:07 pm NDA
 5      100     11/16/2016   Nov. 16 - 10:08 pm NDA
 6      101     11/16/2016   Nov. 16 - 10:12 pm NDA
        102     11/16/2016   Nov. 16 - 10:12 pm NDA
 7      103     11/16/2016   Nov. 16 - 10:13 pm NDA
 8      104     11/16/2016   Nov. 16 - 10:14 pm NDA
        105     11/16/2016   Nov. 16 - 10:14 pm NDA
 9      106     11/16/2016   Nov. 16 - 10:15 pm NDA
        107     11/16/2016   Nov. 16 - 10:16 pm NDA
10
        108     11/16/2016   Nov. 16 - 10:16 pm NDA
11      109     11/16/2016   Nov. 16 - 10:16 pm NDA
        110     11/16/2016   Nov. 16 - 10:17 pm NDA
12
        111     11/16/2016   Nov. 16 - 10:18 pm NDA
13      112     11/16/2016   Nov. 16 - 10:18 pm NDA
        113     11/16/2016   Nov. 16 - 10:18 pm NDA
14
        114     11/16/2016   Nov. 16 - 10:19 pm NDA
15      115     11/16/2016   Nov. 16 - 10:19 pm NDA
        116     11/16/2016   Nov. 16 - 10:31 pm NDA
16      117     11/16/2016   Nov. 16 - 10:32 pm NDA
17      118     11/16/2016   Nov. 16 - 10:32 pm NDA
        119     11/16/2016   Nov. 16 - 10:33 pm NDA
18      120     11/16/2016   Nov. 16 - 10:33 pm NDA
19      121     11/16/2016   Nov. 16 - 10:33 pm NDA
        122     11/16/2016   Nov. 16 - 10:36 pm NDA
20      123     11/16/2016   Nov. 16 - 10:37 pm NDA
        124     11/16/2016   Nov. 16 - 10:37 pm NDA
21
        125     11/16/2016   Nov. 16 - 10:38 pm NDA
22                         Email from Clark to Sullivan re: Patel et al NDA --
        126     11/16/2016 Invitation to Edit
23
        127     11/16/2016 Greene and Clark comments on Patel et al NDA
24                         Email from Peprah to McCann re: Password reset for
        128     11/16/2016 GitHub
25
                           Email from Clark to Sullivan (cc: Henley and Fletcher) re:
26      129     11/16/2016 Patel et al NDA - Invitation to edit
        130     11/16/2016 Greene and Clark comments on Patel et al NDA
27
                                                                                ANGELI LAW GROUP LLC
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 1     EX #       DATE                            DESCRIPTION                              OFF’D      ADT’D

 2                         Drafting history for email sent to hackers at 11:14 am on
        131     11/16/2016 11/16/16
 3
        132     11/17/2016 Text Message from Candace Kelly to Craig Clark
 4                           Drafting history for email sent to hackers at 11:08 am on
        133     11/17/2016   11/17/16
 5
        134     11/18/2016   Google Doc re: Shaf Patel
 6      135     11/18/2016   Tracked Postmortem Tasks
        136     11/18/2016   GitHub CISO questions
 7
        137     11/18/2016   Letter to Engineers re: GitHub access
 8      138     11/18/2016 Access logs from GitHub compromised accounts
 9                         Preacher Consolidated list of IPs by total of events, first
        139     11/18/2016 and last time seen
10      140     11/18/2016 Incident Timeline

11                         GitHub Remediation- collab doc / Additional GitHub
        141     11/18/2016 Security Details
12                         Calendar invite from Clark to numerous recipients re:
        142     11/18/2016 Preacher Sync
13
                           Drafting history for email sent to hackers at 12:18 pm on
14      143     11/18/2016 11/18/16
        144     11/18/2016 NDA signed by Fletcher and “John Doughs”
15
                           Email from Matthews to Henley, Clark re Scott Wilson
16      145     11/18/2016 NDA
                           Clark email to Matthews and Henley re: NDA ready to be
17      146     11/18/2016 sent

18                         Email from EchoSign to Matthews, Fletcher, and “John
        147     11/18/2016 Doughs” attaching signed NDA
19      148     11/18/2016 NDA signed by Fletcher and “John Doughs”
                           Email from Nguyen to sr-admin@uber.com re: Preacher
20
        149     11/18/2016 Contingency Plan - Invitation to Edit
21      150     11/18/2016 Sullivan/Kalanick email exchange re: updates
        151     11/18/2016 Scope of Potential Exposure in Uber-Cold-Storage
22
        152     11/18/2016 Preacher Email Log
23      153     11/18/2016 Preacher Contingency Plan

24                         Garbutt and Clark comments on Google doc, "Scope of
        154     11/18/2016 potential exposure in Uber-cold-storage"
25                         Henley email to Clark, forwarding Rice email Re: Canada
        155     11/18/2016 tax form w-8ben
26
        156     11/21/2016 Email from Fletcher to Henley, Clark, Sullivan, Flynn
27
                                                                                   ANGELI LAW GROUP LLC
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              Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 7 of 10




 1     EX #       DATE                           DESCRIPTION                              OFF’D      ADT’D

 2                         Flynn email to Borges, Qiao, Greene, Thrift, Guzman,
                           Stern, Worden, Long, Tickel, Gates, and Henley re:
 3      157     11/21/2016 Invitation: Preacher Postmortem: Part 1

 4                           Email from Flynn to Benson re: preacher postmortem part
        158     11/21/2016   1 tomorrow
 5      159     11/21/2016   Letter from Rossen (FTC) to Engrav
        160     11/21/2016   NDA signed by Fletcher and William Loafman
 6
        161     11/21/2016   Email from Rossen to Engrav, Anderson, Trilling
 7      162     11/21/2016   Letter from Rossen to Engrav
                           Email from EchoSign to Matthews, Fletcher, and William
 8      163     11/21/2016 Loafman
 9                         Email from EchoSign to Matthews, Fletcher, and William
        164     11/21/2016 Loafman
10
        165     11/21/2016 Email from Sullivan to Kalanick re: Signed contract
11      166     11/21/2016 Email from Engrav to Kelly, Ross, and Para re: Uber
12                         Drafting history for email sent to hackers at 11:28 am on
        167     11/21/2016 11/21/16
13      168     11/22/2016 Preacher postmortem task list
                           Drafting history for email sent to hackers at 10:13 am on
14
        169     11/22/2016 11/22/16
15                         Email from Flynn to Henley re: Preacher Postmortem:
        170     11/22/2016 Part 1
16      171     11/22/2016 Signed NDA
17                         Drafting history for email sent to hackers at 11:25 am on
        172     11/22/2016 11/22/16
18                         Drafting history for email sent to hackers at 11:30 pm on
        173     11/25/2016 11/25/16
19
                           Drafting history for email sent to hackers at 12:49 pm on
20      174     11/29/2016 11/29/16
                           Drafting history for email sent to hackers at 2:45 pm on
21
        175     11/30/2016 11/30/16
22                         Drafting history for email sent to hackers at 10:49 pm on
        176     11/30/2016 11/30/16
23      177     11/30/2016 Henley email to riskiq.net
24                           Drafting history for email sent to hackers at 6:25 pm on
        178     12/1/2016    12/1/16
25                           Drafting history for email sent to hackers at 5:15 pm on
        179     12/1/2016    12/1/16
26
        180     12/1/2016    Signed W9 Form
27
                                                                                  ANGELI LAW GROUP LLC
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              Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 8 of 10




 1     EX #       DATE                           DESCRIPTION                              OFF’D      ADT’D

 2                           Matthews email to Henley and Clark, re: signed: W9
                             Form between UBER and Brandon T White is Signed and
 3      181     12/1/2016    Filed!
 4                           Drafting history for email sent to hackers at 11:33 am on
        182     12/2/2016    12/2/16
 5
                             Drafting history for email sent to hackers at 1:09 pm on
 6      183     12/5/2016    12/5/16
                             Drafting history for email sent to hackers at 10:25 am on
 7      184     12/5/2016    12/7/16

 8                           Drafting history for email sent to hackers at 9:01 pm on
        185     12/7/2016    12/7/16
 9                         Drafting history for email sent to hackers at 4:43 pm on
        186      12/8/2016 12/8/16
10      187     12/17/2016 Email from Ross to Garbutt and Kelly
11                         Ross email exchange with Sullivan, Garbutt, and Kelly re:
        188     12/20/2016 FTC CID 8th Set of Responses
12      189     12/30/2016 Flynn email to EngSec-Team re: EngSec in 2016
13      190      1/1/2017    Craig Clark performance review
        191      1/1/2017    Mat Henley performance review
14
                             Memo from Orlando Team to Client re Client Meeting
15      192      1/2/2017    Support 03 Jan 2017
        193      1/2/2017    NDA, signed by Henley and Mereacre
16                           Email exchange among Clark, Henley, Gicinto, and Russo
        194      1/2/2017    re: agmt
17
        195      1/3/2017    Russo's memo re Meeting with Brandon Glover
18      196       1/4/17     Henley emails with Mereacre
        197      1/5/2017    Russo's memo re Meeting with Vasile Mereacre
19
                             Memo from Toronto Team to Client re Client Meeting
20      198      1/5/2017    Support 05 Jan 2017
        199     1/25/2017    Engineering Security Incident Response Plan
21
                             Emails among Yoo, Sullivan, Ross, and Kelly re: Closing
22      200      4/7/2017    Letter to the FTC
                             Attachment - DRAFT letter from Engrav to Rossen (FTC)
23                           re: Data Security and Privacy Investigation of Uber
        201      4/7/2017    Technologies, Inc.
24
                             Email from Ross to privacyteam@uber.com re: (a) team
25      202      4/9/2017    meeting; (b) Closing Letter to the FTC
                             Ross/Clark email exchange re: (a) team meeting; (b)
26
        203     4/10/2017    Closing Letter to the FTC
27      204     5/4/2017     Kelly email to Ross re: FTC Prep

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 1      EX #       DATE                           DESCRIPTION                             OFF’D      ADT’D

 2                            Henley email to Flynn re: Vulnerability Test Report for
         205     5/26/2017    Uber . . . one more time
 3
         206     6/15/2017    Email from Engrav to Kelly and Ross re: Uber
 4                            Draft FTC Complaint (attached to 6/15/17 Engrav email
         207     6/15/2017    to Kelly and Ross)
 5
                              Draft FTC Order (attached to 6/15/17 Engrav email to
 6       208     6/15/2017    Kelly and Ross)
                              Engrav/Rossen email attaching signed settlement
 7       209     7/14/2017    agreement

 8       210     7/14/2017  Uber/FTC Agreement Containing Consent Order
         211      9/19/2017 Draft Consolidated Preacher Report
 9
         212      9/19/2017 Draft Consolidated Preacher Report
10       213      9/19/2017 Draft Consolidated Preacher Report
         214      9/19/2017 Draft Consolidated Preacher Report
11       215      9/20/2017 Consolidated Preacher Report
12       216      9/20/2017 Yoo/Sullivan email exchange re: SMC follow-up
         217      9/20/2017 Consolidated Preacher Report
13       218      9/20/2017 Draft Consolidated Preacher Report
14       219      11/3/2017 Email from Tu to Poetzscher, Hamblet, et al. re: new issue
         220     11/9/2017  Email from Mandel to Yoo, et al.
15       221     11/9/2017  Project Magellan--Company Side Letter
         222     11/9/2017  Project Magellan - Company Side Letter
16
         223     11/13/2017 Rossen email to Engrav
17                          Cooley email to Morrison & Foerster, Gunderson, and
         224     11/13/2017 Uber team
18       225     11/21/2017 Email from Engrav to Rossen
19                          Email from Padilla to Sullivan re: IMPORTANT: Your
         226     11/21/2017 Employment with Uber
20                          Khosrowshahi email to Horsey and Padilla (bcc: security-
         227     11/21/2017 all@uber.com) re: Data breach and leadership changes
21       228     11/27/2017 “Preacher” PowerPoint presentation
         229      12/5/2017 Engrav letter to NYAG re: 2016 incident.
22
                            Mandiant Report Regarding Payment and Financial
23       230      12/5/2017 Information in Data in Uber 2016 Data Security Incident
         231      1/19/2018 Letter from Engrav to Rossen and Trilling
24

25
     /////
26
     /////
27
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            Case 3:20-cr-00337-WHO Document 140 Filed 08/15/22 Page 10 of 10




 1          DATED: August 15, 2022                         Respectfully submitted,
 2

 3                                                          s/ David Angeli
                                                           DAVID ANGELI
 4                                                         Counsel for JOSEPH SULLIVAN
 5                                                         STEPHANIE M. HINDS
                                                           United States Attorney
 6

 7                                                          s/ Andrew F. Dawson
                                                           ANDREW F. DAWSON
 8                                                         BENJAMIN KINGSLEY
                                                           Assistant United States Attorneys
 9

10
                                             Attestation of Filer
11
             In addition to myself, the other signatory to this document is Andrew F. Dawson. I attest
12
     that I have his permission to enter a conformed signature on his behalf and to file this document.
13

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     DATED: August 15, 2022                                s/ David Angeli
15                                                         DAVID ANGELI
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